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EXHIBIT A

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U'Nl'l`l'€l) STA'l"ES BANKRUP`]"CY COURT
EASTERN D`lS'l`RlC'l` OF NEW YORK

 

_____________________________________________________________ x
In re
Case No. ]7-73626 (REG)
ROLAW OF SHELTER ISLAND, INC.,
d/b/a MlCHAEI. ANTHONY’S FOOD BAR, Chapter l 1
Debtor
X
STIPULAT]ON AND ()RDER

 

R'olaw of Shelter Island, Inc., d/b/a Michael Anthony’s Food Bar (the “Debtor”), the above-
referenced debtor and debtor-in-possession, by and through its counsel, Macco & Stem, LLP, and
the the New York State Department of Taxation and Finance (the “Claimant”), by and through its
counscl, enter into this stipulation (rhe "Stipulation”) to resolve the Debtor’s objection to the proof
Of claim number l filed by the Claimant [Dkt. #32], and respectfully sets forth as t`ollows:

WHEREAS, at all relevant times, Debtor operated a restaurant located in Brookhaven,

New York.

WHEREAS, between Septernber 2007 and May 2014, Claimant assessed taxes and
penalties against the Debtor for under-payment of sales taxes arising from cash receipts
(colleotively, the “Assessments”).

WHEREAS, in June 201 7, Claimant seized the Debtor’s business for non-payment of the
Assessments.

WHEREAS, on June 13, 2017 (the “Petition Date”), the Debtor and filed a voluntary
petition l`or reliel` under chapter ll of title ll ofthe United Sratcs Code (the “Bankruptcy Code”).

WHEREAS, by order (tbe "Bar Date Ordcr'")._ entered June 23, 201 7, the court established

December l l. 2017 (the “Bar Date”) as the last day to file proofs ot`claims.

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WHEREAS, on June 14_, 2017\ Claimant filed a claim, assigned proofot`claim number 1,
in the secured amount of $319,591.68, representing the balance ol` the Assessments as of the
Petition Date against the Debtor’s estate, which claim was amended to include a priority unsecured
amount of$5,474.12 on September 18, 2017 (as amcnded, the “Claim”).

WHEREAS, on Scptember 13, 2017, Debtor objected to the Claim and sought to disallow,
reduce, and/or expunge the Clajrn (the “Objection”).

WHEREAS, on October 30, 2017, Claimant responded to the Objection [Dkt. #36].

WHEREAS, the Debtor has continued to operate its business as a debtor-in-possession
under Bankruptcy Code §§1107 and 1108. To date, the Oft`lce of the United States Trustee (the
“UST”) has not appointed a chapter 1 1 trustee or official committee of unsecured creditors

WH EREAS. Debtor and Claimant have engaged in informal discovery related to the
Asscssments, the Claim, and the Objection and, in the spirit of compromise, have agreed to settle
the Assessment and the Objection and the Claim

NOW, THEREFORE, it is hereby stipulated and agreed as t`o|iows:

1, The Claim shall be reduced as follows: (a) a sectier claim in the arnoth of Two
Hundred Nine-Thousand and 00/100 ($209,000.00) Doilars (the “‘Seeured Portion”)', and (b) a
priority unsecured claim in the current amount of F ive Thousand Four Hundred Seventy-Four and
12/100 ($5,474.12) Doilars (the “Priority Portion”).

2. The Claim, as reduced pursuant to paragraph 1, shall be allowed against the Debtor
and shall not be subject to any defense or counterclaim, right of setot`f, reduction, avoidance,
disallowance or subordination 'l`he liens securing the Secured Portion ofthe Claim will continue

until payment in t`uli as set toth herein.

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3. As set forth in paragraph 5, Debtor shall pay the Claimant on account ofthe Claim
as follows: (i) payment in full of the Priority Poition; and (ii) monthly installment payments (each,
an “1nstallment Payment”) equal to the Seeured 1"ortion over six (6) years amortized at six (6%)
percent interest The liens securing the Seeured Portion of the Claim will continue until the
Seeured Portion is paid in full.

4. 'l` he Claim, as reduced pursuant to paragraph l, shall survive any subsequent
dismissal of the Debtor’s chapter 1 l case.

5. Debtoi' shall remit the Priority Portion and the first Installment Payment: (a) upon
the effective date of any order approving a proposed plan of reorganization (the °‘Effective Date”);
or (b) entry of an order dismissing the chapter 11 case (t_he “Dismissal Date”).

6. 'l`he provisions of this Stipulation will be incorporated into any plan of
reorganization filed in this case.

7. Debtor shall not be subject to any prepayment penalty for the deferred balance of
the Seeured Poition, and Claimant shall provide an up-to-date payoff upon request of the Debtor.

8. Clainiant shall not take any effort to enforce the Claim, as reduced pursuant to
paragraph 1, against the principal ofthe chtor and his spouse while the Debtor remains current
under this Stipulation.

9. The Objection is resolved.

10. With respect to the Claim, other than the right to receive distributions as set forth
herein with respect to the Claim, the Clainiant and its affiliates, successors and assigns, and its
past, present and future members, officers, directors, paitners, principals, agents, insurers,
servants, employees, representatives, administrators executors, trustee and attorneys, shall have

rio further right to payment froin, and are hereby barred from asserting any claims whatsoever,

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whether known or unknown, asserted or not, in law or in equity, against the Debtor, its estate, or
its successors or assigns, in existence as ofthe date of this Stipulation and arising from or related
to the Claim.

1 1. The Debtor, its estate, and its successor or assigns, hereby release any and all claims
or causes of action against the Clainiant relating in any way to the Stipulation or other agreements
between the Claimant and the Debtor.

12. This Stipulation may.not be modified other than by a signed writing executed by
the `Parties hereto or by order of the Court.

13. Each person who executes this Stipulation represents that he or she is fully
authorized to do so on behalf of the respective Party hereto and that each such party has full
knowledge and has consented to this Stipulation.

14. This Stipulation may be executed iii counterparts and a facsimile or electronically
transmitted copy ofthis Siipulation shall be deemed an original

15. Tliis Stipulation shall be governed by and construed in accordance with laws of the
United States, including the Bankruptcy Code, and the laws of the state of New York.

16. This Stipulation is subject to the approval ofthe Court.

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17. The Bankruptcy Court Shall retain jurisdiction over this Stipulation and any and all

disputes arising out of or otherwise related to the Stipulation.

Dated: lslandia, New York
January _, 201 8

By:
By:
Dated: New York New York
J anuary 2,_&201 8
By:

SO ORDERED:

 
   

M c ne .l rn,LLP
At or cy l n the Debtor-in-Possession

_`Mii,iae J. -' cu
Macct
2950 -` press Drive South, Suite 109
Islandia, New York 11749

(63]) 549-7900

 
 

Rolaw of Shelter lsland, Inc.,
d/b/n Michael /\ntlu j\*‘s` l'°nnd4 Bar
Debtor-ln-Possession '

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President

ERIC T. SCHNEIDERMAN

Attorney General of the State uf New York
Attorneys for the New York State Department of
Taxation and Finance

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